   Case 3:21-cv-01378-N Document 19 Filed 12/13/21                Page 1 of 5 PageID 576



                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

                                      )
In re:                                )
                                      )                        Chapter 11
HIGHLAND CAPITAL MANAGEMENT, L.P.,    )
                                      )                        Case No. 19-34054 (SGJ)
            Reorganized Debtor.       )
                                      )
                                      )
                                      )
HIGHLAND CAPITAL MANAGEMENT, L.P.,    )
                                      )
                 Plaintiff,           )
                                      )                        Adv. Proc No: 21-03006 (SGJ)
vs.                                   )
                                      )                        Case No: 3:21-cv-01378-N
HIGHLAND CAPITAL MANAGEMENT SERVICES, )
INC.                                  )
                                      )
                 Defendant,           )
                                      )

                                CERTIFICATE OF SERVICE

       I, Jonathan J. Thomson, depose and say that I am employed by Kurtzman Carson
Consultants LLC (“KCC”), the claims and noticing agent for the Reorganized Debtor in the
bankruptcy case of Highland Capital Management, L.P., Case No. 19-34054-sgj11 (Bankr. N.D.
Tex).

        On December 7, 2021, at my direction and under my supervision, employees of KCC
caused the following document to be served via Electronic Mail upon the service list attached
hereto as Exhibit A; and via First Class Mail upon the service list attached hereto as Exhibit B:

   •   Order [Docket No. 15]

Dated: December 10, 2021
                                                 /s/ Jonathan J. Thomson
                                                 Jonathan J. Thomson
                                                 KCC
                                                 222 N Pacific Coast Highway, Suite 300
                                                 El Segundo, CA 90245
Case 3:21-cv-01378-N Document 19 Filed 12/13/21   Page 2 of 5 PageID 577


                          EXHIBIT A
             Case 3:21-cv-01378-N Document  19Exhibit
                                                   FiledA
                                                           12/13/21
                                        Civil Action Service List
                                                                                              Page 3 of 5 PageID 578
                                                          Served via Electronic Mail


            Description                     CreditorName                     CreditorNoticeName                          Email
Financial Advisor to Official                                          Earnestiena Cheng, Daniel H      Earnestiena.Cheng@fticonsulting.com;
Committee of Unsecured Creditors    FTI Consulting                     O'Brien                          Daniel.H.O'Brien@fticonsulting.com
                                                                       Melissa S. Hayward, Zachery Z.   MHayward@HaywardFirm.com;
Counsel for the Debtor              Hayward & Associates PLLC          Annable                          ZAnnable@HaywardFirm.com
                                                                                                        rpachulski@pszjlaw.com;
                                                                                                        jpomerantz@pszjlaw.com;
                                                                       Richard M. Pachulski, Jeffrey N. ikharasch@pszjlaw.com;
                                                                       Pomerantz, Ira D. Kharasch,      joneill@pszjlaw.com;
                                                                       James E. O’Neill, Robert J.      rfeinstein@pszjlaw.com;
                                    Pachulski Stang Ziehl & Jones      Feinstein, John A. Morris,       jmorris@pszjlaw.com;
Counsel for the Debtor              LLP                                Gregory V. Demo                  gdemo@pszjlaw.com
                                                                                                        mclemente@sidley.com;
                                                                       Matthew Clemente, Alyssa         alyssa.russell@sidley.com;
Counsel for Official Committee of                                      Russell, Elliot A. Bromagen,     ebromagen@sidley.com;
Unsecured Creditors                 Sidley Austin LLP                  Dennis M. Twomey                 dtwomey@sidley.com
                                                                                                        preid@sidley.com;
                                                                       Penny P. Reid, Paige Holden      pmontgomery@sidley.com;
Counsel for Official Committee of                                      Montgomery, Juliana Hoffman, jhoffman@sidley.com;
Unsecured Creditors                 Sidley Austin LLP                  Chandler M. Rognes               crognes@sidley.com
Counsel for Highland Capital
Management Services, Inc. and                                          Deborah Deitsch-Perez, Michael deborah.deitschperez@stinson.com;
Nancy Dondero                       Stinson LLP                        P. Aigen                        michael.aigen@stinson.com
                                                                                                       brant.martin@wickphillips.com;
                                                                       Brant C. Martin, Jason M. Rudd, jason.rudd@wickphillips.com;
Counsel for Highland Capital        Wick Phillips Gould & Martin,      Lauren K. Drawhorn,             lauren.drawhorn@wickphillips.com;
Management Services, Inc.           LLP                                Jeffrey W. Hellberg Jr.         jeff.hellberg@wickphillips.com




   Highland Capital Management, L.P.
   Case No. 19-34054                                                Page 1 of 1
Case 3:21-cv-01378-N Document 19 Filed 12/13/21   Page 4 of 5 PageID 579


                          EXHIBIT B
                         Case 3:21-cv-01378-N Document 19Exhibit
                                                            FiledB 12/13/21              Page 5 of 5 PageID 580
                                                            Civil Action Service List
                                                           Served via First Class Mail

                  Description                   CreditorName             CreditorNoticeName              Address1         City   State    Zip
 Counsel for Highland Capital Management                             Deborah Deitsch-Perez,      3102 Oak Lawn Avenue,
 Services, Inc. and Nancy Dondero          Stinson LLP               Michael P. Aigen            Suite 777               Dallas TX       75219
                                                                     Brant C. Martin, Jason M.
 Counsel for Highland Capital Management   Wick Phillips Gould &     Rudd, Lauren K. Drawhorn,   3131 McKinney Avenue,
 Services, Inc.                            Martin, LLP               Jeffrey W. Hellberg Jr.     Suite 500               Dallas TX       75204




Highland Capital Management, L.P.
Case No. 19-34054                                                  Page 1 of 1
